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                    IN THE UNITED STATES DISTRICT COURT
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                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      NATURAL-IMMUNOGENICS                Case No. 8:15-cv-02034-JVS (JCG)
13    CORP.,
                                          PLAINTIFF NATURAL
14                                        IMMUNOGENICS CORP.’S REPLY
                        Plaintiff,
15                                        IN SUPPORT OF MOTION FOR
           v.                             ENFORCEMENT OF SETTLEMENT
16                                        AGREEMENT
      PACIFIC TRIAL ATTORNEYS, et
17    al.,
18
                       Defendants.        Hearing Date:   June 27, 2022
19                                        Judge:          Hon. James V. Selna
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                                                PUBLIC REDACTED VERSION
22                                              FILED PURSUANT TO COURT
23                                                  ORDER IN DKT. 1283
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1     I.   INTRODUCTION
2          Plaintiff Natural Immunogenics Corp. (“NIC”) hereby replies in support of
3    NIC’s Motion to Enforce Settlement Agreement. See Dkt. 1270. Defendants’
4    Opposition (Dkt. 1279-1) misconstrues NIC’s motion, the relief sought, and the
5    procedural history. NIC is not asking this Court to alter the Term Sheet or the
6    parties’ agreement. NIC is not suing for breach of an agreement to negotiate. NIC
7    is simply asking the Court to enforce through its inherent powers the binding
8    agreement that the parties reached at mediation.
9          Significantly, Defendants (referred to as “Defendants” or “NTG”) agree that
10   the Term Sheet is a binding and enforceable settlement agreement. See Dkt. 1279-
11   1 at 9 (“Defendants do not dispute that this case is effectively settled. Nor do
12   Defendants dispute that the term sheet is an enforceable agreement.”). Because
13   Defendants do not dispute that the agreement is “enforceable,” this Court should
14   grant NIC’s motion to enforce the settlement agreement under principles of contract
15   interpretation. The Term Sheet is unambiguous on all material points. Defendants
16   had the burden to show the Term Sheet unenforceable as written. See Guzik Tech.
17   Enterprises, Inc. v. W. Digital Corp., No. 5:11-CV-03786, 2014 WL 12465441, at
18   *2 (N.D. Cal. Mar. 21, 2014) (quoting Callen v. Pennsylvania R. Co., 332 U.S. 625,
19   630 (1948) (“One who attacks a settlement must bear the burden of showing that the
20   contract he has made is tainted with invalidity”)). NTG failed to meet that burden.
21         NIC filed its Motion out of necessity because Defendants made demands
22   beyond the agreed-to terms of the Settlement Agreement as conditions precedent to
23   their executing a final agreement.
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6          NIC and its counsel negotiated in good faith. The parties ultimately reached
7    agreement on material terms, save only reduction of the Term Sheet terms,
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13         NIC asks the Court to hold that NTG’s proposed
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22           NTG’s inability to defend its conduct—while also doubling down on its
23   demands—is a clear indication why the parties were unable to execute a final
24   confirmatory agreement despite NIC’s good faith efforts. That confirmation should
25   have been simple and executory. Instead, it became a vehicle for NTG to make new
26   demands beyond the scope of the Term Sheet and in violation of the ethics rules.
27         Sanctions are warranted, in part, because had NTG itself conferred in good
28   faith within the scope of the Term Sheet, this case would have been closed months

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1    ago. As NIC explains below in Reply:
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4                                                               (3) NIC is not seeking to
5    rewrite any aspect of the Term Sheet; (4) NIC has acted in good faith throughout
6    negotiations (contrary to NTG); (5) this Court has jurisdiction and authority to
7    resolve NIC’s motion; and (6) NIC’s request for sanctions in response to NTG’s
8    unethical conduct is warranted.
9     II.   ARGUMENT
10          NIC asks the Court, consistent with controlling precedent, to enforce the plain
11   and unambiguous language of the Term Sheet to which the parties agreed. To the
12   extent other terms do not appear in the Term Sheet, they are not material to
13   settlement under Facebook, Inc. v. Pac. Nw. Software, Inc., 640 F.3d 1034, 1037-38
14   (9th Cir. 2011). The Court can enforce the Term Sheet because the material terms
15   contained within it are sufficiently definite. NTG offers no contest on that essential
16   point, admitting that the Term Sheet is binding and enforceable.
17          The Term Sheet is an agreement signed by the parties before the Court-
18   appointed mediator, memorializing every material term necessary to resolve the case
19   before the Court.
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23                              NTG nonetheless admits that the Term Sheet is binding
24   and enforceable. The Court should therefore enforce the Term Sheet and bring this
25   case to a close on the material terms agreed-to therein.
26      A. Defendants Concede the Term Sheet Is Enforceable
27          All parties agree the Term Sheet is enforceable
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2    Defendants do not contest that this Court may enforce the Term Sheet as a binding
3    settlement agreement. See Dkt. 1279-1 at 6 (“The parties mediated and settled this
4    matter”); id. at 9 (“The parties memorialized the agreement in principle with an
5    executed binding ‘Term Sheet’”); id. at 13 (“Defendants do not dispute that this case
6    is effectively settled. Nor do Defendants dispute that the term sheet is an enforceable
7    agreement.”); id. at 21 (“The issue is not enforceability…”). Given that all parties
8    agree the Term Sheet is an enforceable settlement agreement, the Court’s role is to
9    adjudicate the meaning of that contract. See Dkt. 1270-4.
10         NTG argues that, under California law, there is no contract where the parties
11   still need to negotiate “essential elements” of a contemplated contract. Dkt. 1279-1
12   at 14. But the cases NTG cites involve situations where the parties disputed the
13   existence of a binding contract and where elements essential to a contract had not
14   been negotiated. See City Solutions, Inc. v. Clear Channel Communications, Inc.,
15   201 F. Supp. 2d 1035, 1040–41 (N.D. Cal. 2001) (“Here, important aspects of the
16   parties' business relationship were still up in the air even after the May 26 meeting.”);
17   Copeland v. Baskin Robbins U.S.A., 96 Cal. App. 4th 1251, 1255–56 (2002) (the
18   parties agreed that “a variety of complex terms” remained to be negotiated before
19   the contract could be completed, including price, flavors of ice cream, quality control
20   standards for ice cream, and the responsibility for waste); see also Los Angeles
21   Unified Sch. Dist. v. Torres Constr. Corp., 57 Cal. App. 5th 480, 494–95 (2020)
22   (explaining that, in Copeland, “Both parties agreed on appeal that no ice cream
23   purchase contract had been formed”); Bustamonte v. Intuit, Inc., 141 Cal. App. 4th
24   199, 213–14 (2006) (no meeting of the minds because the alleged contract's terms
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           PLAINTIFF'S REPLY IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT AGREEMENT
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1     were too uncertain). By contrast, here NTG concedes the Term Sheet is “binding
2     and enforceable” (see Dkt. 1279-1 at 21), and that this case is settled under that Term
3     Sheet (see id. at 6, 13, 21). With the aid of the Court-appointed Mediator, all terms
4     essential to settlement were negotiated and agreements thereon precisely reflected
5     in the Term Sheet itself, which explains why the parties themselves agreed that the
6     terms specified were “binding and enforceable.” Thus, unlike the cases relied upon
7     by NTG, here the Parties have agreed in their respective briefs, and the Term Sheet
8     itself reflects, that the Term Sheet is a binding and enforceable contract.
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10                                                             But the cases cited by NTG
11    do not support that demand. See Dkt. 1279-1 at 14–15. Those decisions do not
12    involve Court action on motions to enforce settlements but, rather, decisions holding
13    that one party may sue another for breaching an agreement to negotiate. See, e.g.,
14   Copeland, 96 Cal. App. 4th at 1257 (there is a cause of action for breach of contract
15   to negotiate); Cable & Computer Tech. Inc. v. Lockheed Sanders, Inc., 214 F.3d
16   1030, 1035 (9th Cir. 2000) (same). Here, neither party sues for breach of an
17   agreement to negotiate. Rather, NIC is asking the Court to enforce the plain terms
18    of the Term Sheet, which NTG concedes is enforceable and binding.
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         B.     NIC Negotiated in Good Faith for Nearly Six Months
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              PLAINTIFF'S REPLY IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT AGREEMENT
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               The Court should ignore NTG’s ad hominem arguments, with one exception.
20    NTG bemoans the length of this case, casting aspersion on NIC for that prolongation
      while refusing to admit its documented acts of obstruction. The decisions in this
21    case reveal a pattern of sanctionable and frivolous withholding of evidence and
22    misconduct by NTG that extended the suit for years, resulting in sanctions orders
      against NTG and a Rule 11 order against NTG and its counsel. See Dkt. 659 at 8;
23    Dkt. 130; Dkt. 241 at 17-18; Dkt. 525; Dkt. 799; Dkt. 1028; Dkt. 1054; NIC v. NTG
      et al., No. 2:19- mc-00011 (C.D. Cal.), Dkt. 84. NTG argues disingenuously when
24    it simultaneously contends the case must end, but also insists in the Term Sheet on
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23          In early March, NIC agreed to yet another session with Judge Guilford in his
24    capacity as a mediator. Dkt. 1270-3 at ¶11. That session occurred on March 24,
25    2022, but it did not resolve this instant dispute. Id. at ¶13.
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            California Rule of Professional Conduct 3.10(a) precludes counsel from
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     threatening to present an ethical charge to obtain an advantage in a civil dispute. See
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     Cal. RPC 5.6(a), (b). Given the contentiousness of this case, and NTG’s pattern of
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     levying baseless charges against NIC counsel, NIC identified the illegal nature of
22
     the NTG secrecy clause, explained the bases for why that clause imposed an undue
23
     burden on counsel’s right to practice, but avoided any language that could be
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     misconstrued by NTG as a threat of disciplinary charges. 3 NTG and its counsel are
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      attorneys licensed in California and are charged with abiding by the applicable Rules
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      of Professional Conduct.
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              NTG earlier sought sanctions against NIC counsel for raising ethical
      concerns with NTG’s practice in conjunction with settlement discussions. See Dkt.
      365 at 15-16 (denying sanctions).
           PLAINTIFF'S REPLY IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT AGREEMENT
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4                                                                                  The record
5     thus confirms that NIC and its counsel worked diligently and cooperatively to reduce
6    the agreed-to terms in the Term Sheet into a formal agreement. The parties in fact
7     reached consensus on all material terms of the contract.
8
9                   Because the content demanded by NTG for that clause is both beyond
10    the agreed-to terms and in violation of the California ethics laws, it cannot be
11    included and, were it included, would not be legally enforceable.
12       C. The Term Sheet Is Clear and Unambiguous on Material Terms
13          “Under California law, it is well settled that the interpretation of a contract is
14    a question of law for the trial court’s determination.” SDR Cap. Mgmt., Inc. v. Am.
15    Int'l Specialty Lines Ins. Co., 320 F. Supp. 2d 1043, 1046 (S.D. Cal. 2004) (collecting
16    cases).   Moreover, “[t]he determination as to whether a contract is or is not
17    ambiguous is a question of law for the court.” Id. “This determination requires
18    [courts] to apply traditional rules of contract interpretation, including that the ‘clear
19    and explicit meaning’ of the contract ‘controls judicial interpretation.’” Nomadix,
20    Inc. v. Guest-Tek Interactive Ent. Ltd., 857 F. App'x 947, 948 (9th Cir. 2021). “Thus,
21    if the meaning a layperson would ascribe to contract language is not ambiguous,
22    [courts] apply that meaning.” Id.; see also Avemco Ins. Co. v. Davenport, 140 F.3d
23    839, 842 (9th Cir. 1998) (same); Nat'l Union Fire Ins. Co. of Pittsburg v. Northfield
24   Ins. Co., 108 F.3d 1386 (9th Cir. 1997) (“If the meaning a layperson would ascribe
25   … is not ambiguous, there is no place for interpretation” and the court “should not
26   strain to find ambiguity where none exists”). An ambiguity in contract does not exist
27   merely because the parties disagree about the meaning of a contract. See Abers v.
28    Rounsavell, 189 Cal. App. 4th 348, 356 (2010).             “Nor does [d]isagreement

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1     concerning the meaning of a phrase, or the fact that a word or phrase isolated from
2     its context is susceptible of more than one meaning.” Muzzi v. Bel Air Mart, 171
3     Cal. App. 4th 456, 463 (2009) (internal quotations omitted).
4           NTG does not dispute that, under Ninth Circuit precedent, the Court may
5     enforce a settlement Term Sheet even if certain terms are absent, provided that the
6     absent terms reflect only the value of the bargain. See Facebook, 640 F.3d at 1037;
7     Guzik, 2014 WL 12465441, at *2. District Courts have enforced term sheets in
8     similar circumstances despite the absence of additional terms or details. See, e.g.,
9     Facebook, 640 F.3d at 1037-38; Wang, Hartman, Gibbs & Cauley, PLC v. Witten,
10    No. 10-cv-1499-JVS, 2011 WL 13227851, at *3–4 (C.D. Cal. Feb. 24, 2011)
11    (“Merely because [a settlement] agreement could contain additional terms or more
12    detail does not render the agreement uncertain or incomplete”); Res. Recovery Corp.
13    v. Inductance Energy Corp., No. CV-20-00764, 2021 WL 2334395, at *2 (D. Ariz.
14    June 8, 2021) (“[T]he Court finds as a matter of law that the payor in this case was
15    not an essential term because the Court can fashion a remedy even absent that term”).
16          In Facebook, the Ninth Circuit rejected arguments nearly identical to those
17    made by NTG (i.e., that a settlement term sheet could not be enforced because the
18   agreement was missing a “material” term of value to NTG). See Facebook, 640 F.3d
19    at 1037. The Court explained:
20            [A] term may be “material” in one of two ways: It may be a
21            necessary term, without which there can be no contract; or, it may
              be an important term that affects the value of the bargain. Obviously,
22            omission of the former would render the contract a nullity. But a
23            contract that omits terms of the latter type is enforceable under
              California law, so long as the terms it does include are sufficiently
24            definite for a court to determine whether a breach has occurred,
25            order specific performance or award damages.
26    Id. at 1037–38. “This is not a very demanding test[.]” Id. at 1038.
27          “The Ninth Circuit has an expansive view of what it means to settle a case and
28    California has a strong policy in favor of enforcing settlement agreements.” Guzik,

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1     2014 WL 12465441, at *5 (collecting authorities). “The fact that the parties were to
2     later draft other agreements ‘reasonably necessary to effect’ the terms of the term
3     sheet, does not make any less binding those terms that are agreed to in the signed
4     term sheet.” Id. (emphasis original) (holding that, “Even if the parties still had to
5     work out the details of purchase order scope, those details were not so essential as
6     to invalidate the main terms that the parties did work out.”).
7           Here, the parties reached an agreement on all material contract terms, those
8     necessary for a “binding and enforceable” settlement. The parties left certain details
9     to be papered later, but the details, at best, affected the value of the bargain, not the
10    bargain itself (thus even NTG accepts the Term Sheet as a binding and enforceable
11    agreement).
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18                                                                  . The fact that the parties
19    left certain non-essential details for later discussion only emphasizes that those
20    details were immaterial to formation of a “binding and enforceable” settlement, as
21    explained by the Ninth Circuit in Facebook. See Facebook, 640 F.3d at 1037-38.
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            PLAINTIFF'S REPLY IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT AGREEMENT
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           PLAINTIFF'S REPLY IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT AGREEMENT
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           PLAINTIFF'S REPLY IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT AGREEMENT
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22       D. This Court Has Jurisdiction and Authority to Resolve NIC’s Motion
23          NTG argues that “it is not even clear that this Court has jurisdiction” over
24    NIC’s Motion. Dkt. 1279-1 at 25. That argument fails, as the Ninth Circuit
25    recognized, because district courts have inherent equitable power to enforce
26    settlement agreements in actions not yet dismissed. Callie v. Near, 829 F.2d 888,
27    890 (9th Cir. 1987). It is settled law that this Court has jurisdiction and inherent
28    power to enforce a settlement agreement in litigation still pending before it. See,

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1     e.g., Guzik, 2014 WL 12465441, at *2 (“There is no question that ‘the district court
2     has inherent power to enforce the agreement in settlement of litigation before it.’”)
3     (quoting TNT Mktg.); see also TNT Mktg., Inc. v. Agresti, 796 F.2d 276, 278 (9th
4     Cir. 1986) (“The district court had inherent power to enforce the agreement in
5     settlement of litigation before it”); In re City Equities Anaheim, Ltd., 22 F.3d 954,
6     957 (9th Cir. 1994) (“[I]t is now well established that the trial court has power to
7     summarily enforce on motion a settlement agreement entered into by the litigants
8     while the litigation is pending before it”). NTG failed to cite applicable cases
9    supporting its argument or address the contrary controlling authority.
10          The Kokkonen and QC Labs decisions relied upon by NTG are inapplicable
11    because, unlike here, those courts already dismissed the lawsuits prior to
12    determining whether to enforce settlements in those dismissed cases. See Kokkomen
13    v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 378 (1994) (deciding whether the
14   Court had jurisdiction to enforce a settlement agreement after the Court had
15   dismissed the case with prejudice pursuant to the parties’ Rule 41(a)(1)(ii)
16   stipulation); QC Labs v. Green Leaf Lab, LLC, No. SACV1801451, 2020 WL
17   6064966, at *2 (C.D. Cal. July 9, 2020) (court enforced settlement agreement after
18   dismissing case without prejudice because the parties stipulated to reopen the case
19   before the same court that dismissed the case without prejudice). This Court has not
20   dismissed the case and therefore maintains its inherent authority to enforce the Term
21   Sheet. Callie, 829 F.2d at 890.
22          Finally, NTG argues that the Court cannot enforce the Term Sheet through
23    summary proceedings. See Dkt. 1279-1 at 26. However, California law allows a
24    trial court to summarily enforce the plain terms of a contract when those terms are
25    not ambiguous and not reasonably susceptible to more than one meaning. See Abers,
26    189 Cal. App. 4th at 356 (“To avoid future disputes and to provide predictability and
27    stability to transactions, courts attempt to interpret the parties' intentions from the
28    writing alone, if possible.”). Indeed, as the Ninth Circuit recognized in Adams, upon

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1     which NTG relies (Dkt. 1279-1 at 26), “[o]rdinarily, a district court is empowered
2    to enforce a settlement agreement through summary proceedings.” Adams v. John-
3     Manville Corp., 876 F.2d 702, 708 (9th Cir. 1989). A district court is only required
4     to hold an evidentiary hearing where the parties dispute “material facts concerning
5     the existence of terms of the agreement…” Rutherford v. Ekta Hosp., No. EDCV2-
6     4, 2021 WL 4571986, at *1 (C.D. Cal. July 23, 2021).
7             Here, the Parties agree the Term Sheet is binding and enforceable, and NTG
8     failed to raise any material dispute of fact regarding the meaning of language in the
9     Term Sheet itself.
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13                                                                               NTG has
14    therefore given no basis to conclude that an evidentiary hearing is warranted. Thus,
15    consistent with California law permitting a Court to interpret and enforce
16    unambiguous contracts, the Court can enforce the Term Sheet without an evidentiary
17    hearing. See Tangiers Investors, L.P. v. Myecheck, Inc., No. 10-CV-816, 2011 WL
18    4102150, at *2 (S.D. Cal. Sept. 13, 2011) (“The existence of the agreement and the
19    material terms of the agreement are not in dispute, as the terms are included within
20    the written and signed agreements. Therefore, there is no need for an evidentiary
21    hearing on whether an agreement existed, or what its terms were.”). To be sure,
22    NTG has not requested an evidentiary hearing in its opposition.
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         E.     NIC’s Request for Sanctions is Warranted
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6                                                  Sanctions are warranted under these
7    circumstances, and the most appropriate sanction is an award of NIC’s attorney fees
8    and costs incurred in having to bring this motion.
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                1. NTG’s Settlement Language Was Unethical
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            “When faced with ethical disputes, courts may … look to ethics opinions from
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      California and other jurisdictions.” Lennar Mare Island, LLC v. Steadfast Ins. Co.,
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      105 F. Supp. 3d 1100, 1107 (E.D. Cal. 2015). Ethics opinions issued by local bar
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      associations are persuasive authority used by the State Bar of California and the
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      Courts in resolving ethics concerns. See, e.g., Crenshaw v. MONY Life Ins. Co., 318
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      F. Supp. 2d 1015, 1021 (S.D. Cal. 2004) (applying ethics opinions from the S.D. Bar
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     Association); White v. Experian Info. Sols., Inc., No. SACV 05-1070, 2009 WL
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      4267843, at *6 (C.D. Cal. Nov. 23, 2009) (evaluating and applying ethics opinions
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      issued by the Bar Association of San Francisco). 6
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                                                                                      The
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      NTG Defendants do not cite or address that controlling opinion. 7
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               Counsel for NIC has consulted with the California State Bar’s confidential
25    research service, which confirmed that ethics opinions from local associations,
      including the San Francisco Bar Association, are persuasive authority relied upon
26    by the State Bar in evaluating attorney conduct. The State Bar’s Ethics Hotline is
      available to state and federal judges, and includes dedicated options for assistance
27    to the judiciary at 1-800-238-4427.
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               NTG attached an “opinion” by its expert, Daniel White. Dkt. 1279-7. That
      opinion is improper and objectionable as it purports to opine on legal issues. See
      Gable v. National Broadcasting Co., 727 F.Supp. 2d 815, 835-36 (C.D. Cal. 2010)
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      (“It is well established that, an expert may not state his or her opinion as to legal
24    standards, nor may he or she state legal conclusions drawn by applying the law to
25    the facts.”). White’s “opinion” is just another, unauthorized legal brief from the
      defendants’ agent. But that opinion is also incompetent.
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13                        One Defendant has already been disbarred by the State Bar of
14    Arizona. See Dkt. 1108-9.
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                 2. NTG’s Improper Conduct Delayed Resolution of This Case
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           “District judges have an arsenal of sanctions they can impose for unethical
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     behavior.   These sanctions include monetary sanctions, contempt, and the
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     disqualification of counsel.” Erickson v. Newmar Corp., 87 F.3d 298, 303 (9th Cir.
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     1996) (holding that District Courts have a responsibility to examine claims of
25
     unethical behavior); Onewest Bank, FSB v. Farrar, No. CIV NO 12-00, 2013 WL
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     6175321, at *11 (D. Haw. Nov. 19, 2013) (imposing sanctions for conduct during
27
     settlement negotiations because a party “purposefully delayed resolution of this
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     matter through his frivolous, untimely and improper actions throughout the Parties’

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1     drafting of the Settlement Agreement”). A claim of “unethical conduct by defense
2     counsel requires [the court] to decide: 1) whether [counsel’s conduct] was unethical;
3     and 2) if so, what sanction is appropriate[.]” Id. at 301.
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     III.   CONCLUSION
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                                      The Court should award NIC its reasonable costs
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      and fees incurred with this motion to enforce as an appropriate sanction against
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      NTG’s unethical demands in settlement.
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      DATED: June 6, 2022.
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                                           Respectfully submitted,
22
                                           NATURAL IMMUNOGENICS CORP.
23
24                                   By:    /s/ Peter A. Arhangelsky
25                                         Peter A. Arhangelsky, Esq. (SBN 291325)
                                           Eric J. Awerbuch, Esq. (pro hac vice)
26                                         Attorneys for Plaintiff
27                                         Natural Immunogenics Corp.
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1                             CERTIFICATE OF SERVICE
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            I hereby certify that on June 9, 2022 the foregoing, PLAINTIFF NATURAL
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      IMMUNOGENICS CORP.’S REPLY IN SUPPORT OF MOTION FOR
4
      ENFORCEMENT OF SETTLEMENT AGREEMENT was electronically filed
5
6
      using the Court’s CM/ECF system and was sent by that system to the following:

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5                                                       /s/ Peter A. Arhangelsky
                                                       Peter A. Arhangelsky, Esq.
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